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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION                                            ENTERED
                                                                                           07/09/2020


  In re:                                           Chapter 11

  FURIE OPERATING ALASKA, LLC, et                  Case No. 19-11781 (LSS)
  al.,1
                                                   (Jointly Administered)
                Debtors
                                                   Honorable Laurie Selber Silverstein

                                                   Pending in the United States
                                                   Bankruptcy Court for the District of
                                                   Delaware

  ALLEN LAWRENCE BERRY and
  DANNY DAVIS,
                                                   Adversary Proceeding
                Plaintiffs
                                                   No. 19- (03666)
  v.
                                                   (Removal from 125th Judicial District
  DAMON KADE, KAY RIECK, LARS                      Court of Harris County, Texas; Cause
  DEGENHARDT, TOM HORD, FURIE                      No. 2016-49928)
  OPERATING ALASKA, LLC, FURIE
  PETROLEUM COMPANY, LLC, AND
  CORNUCOPIA OIL & GAS COMPANY,
  LLC,

                Defendants

                      ORDER OF DISMISSAL WITH PREJUDICE
           AS TO CLAIMS BETWEEN PLAINTIFFS AND DEBTOR DEFENDANTS

       After considering the Joint Motion to Dismiss Claims between Plaintiffs and Debtor

Defendants with Prejudice, the Court GRANTS the Motion.

       IT IS, THEREFORE, ORDERED that all of the claims brought by Allen Lawrence Berry,

Danny Davis, Giza Holdings, LLC and Taylor Minerals, LLC against Defendants Furie Operating

Alaska, LLC and Cornucopia Oil & Gas Company are hereby DISMISSED with Prejudice.

       IT IS FURTHER ORDERED that all of the claims brought by Furie Operating Alaska, LLC
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and Cornucopia Oil & Gas Company against Allen Lawrence Berry, Danny Davis, Giza Holdings,

LLC and Taylor Minerals, LLC are hereby DISMISSED with Prejudice.

      This ORDER does not affect any claims by or against Damon Kade, Kay Rieck, Lars

Degenhardt, Tom Hord, or Furie Petroleum Company, LLC.



        August
        July      02, 2019
             08, 2020




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